
238 Cal.App.2d 697 (1965)
DONALD G. MUNSON, Plaintiff and Respondent,
v.
STANLEY M. SINGER et al., Defendants and Appellants.
Civ. No. 7555. 
California Court of Appeals. Fourth Dist.  
Dec. 13, 1965.
 Thaler &amp; Karen and Barrie M. Karen for Defendants and Appellants.
 Mark F. Joseff for Plaintiff and Respondent.
 BROWN (Gerald), P. J.
 Respondent served notice on appellants to take their depositions on October 29, 1963; appellants did not present themselves to be deposed. Respondent moved the superior court, on November 22, 1963, for an order to take appellants' depositions and for sanctions against appellants for failing to appear. (Code Civ. Proc.,  2034, subd. (d).)
 The court granted respondent's motion and ordered appellants to pay respondent as sanctions $150 attorney's fees and $25 for costs. [1] The appeal is from the order imposing sanctions.
 In Lund v. Superior Court, 61 Cal.2d 698, 709 [39 Cal.Rptr. 891, 394 P.2d 707], the Supreme Court stated: "The better view is that an order made for the purposes of furthering discovery proceedings, or granting sanctions for refusal to make discovery, is not appealable." Accordingly, we hold that the order is not appealable.
 The appeal is dismissed.
 Coughlin, J., and Whelan, J., concurred.
